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 5                            UNITED STATES DISTRICT COURT
 6                         SOUTHERN DISTRICT OF CALIFORNIA
                                (Honorable Dana M. Sabraw)
 7
      UNITED STATES OF AMERICA,              )        Case No. 20-CR-3246-DMS
 8                                           )
                         Plaintiff,          )        ORDER CONTINUING MOTION IN
 9    v.                                     )        LIMINE AND TRIAL DATES
                                             )
10    DEREK GLEESON,                         )
                                             )
11                       Defendant.          )
                                             )
12
13          GOOD CAUSE APPEARING, IT IS HEREBY ORDERED that the joint motion
14    of the parties to continue the motion in limine hearing and trial to August 5, 2022 at 11
15    am and August 15, 2022 at 9 am, respectively, is GRANTED.
16          The Defendant is ordered to appear on those dates and times as set forth in the
17    Acknowledgment attached to the joint motion.
18          Time under the Speedy Trial Act shall continue to be excluded.
19          IT IS SO ORDERED.
20
21    Dated: 02/22/22
                                                      HON. DANA M. SABRAW
22                                                    CHIEF U.S. DISTRICT JUDGE
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